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                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

JUSTIN NOVICK, CHRIS KEHN, JAMES                           §
ABRAHAM, AND ZAHID ISLAM, on                               §
behalf of themselves and others similarly                  §
situated,                                                  §
                                                           §
         Plaintiff                                         §
                                                           §       CIVIL ACTION NO. 4:16-CV-00730
vs.                                                        §
                                                           §
SHIPCOM WIRELESS, INC.,                                    §
                                                           §
         Defendant.                                        §

      DEFENDANT’S REPLY IN SUPPORT OF ITS MOTION FOR PARTIAL SUMMARY
                JUDGMENT ON THE CALCULATION OF DAMAGES

         The defendant, Shipcom Wireless, Inc. (Shipcom), submits this Reply to the plaintiffs’

Response to Defendant’s Motion for Partial Summary Judgment on the Calculation of Damages,

If Any and respectfully requests that the Court finds that the half time premium is the appropriate

method for calculating damages in this case.

                                NATURE AND STAGE OF PROCEEDING

         Shipcom moved for summary judgment asserting that the half-time calculation method

should be used for calculation of the damages in this case because Shipcom paid the plaintiffs a

salary for all hours worked and the Fifth Circuit has held in such situations that plaintiffs are

entitled to only half time.1 (See Defendant’s motion at pp. 4-6). In response, the plaintiffs assert

that there must be an agreement between the parties that their salary covers all hours worked by

the plaintiff, and claim that a fact issue exists regarding whether the plaintiffs understood that the


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   At this time, Shipcom only moved for summary judgment on the appropriate method to calculate damages because
the parties primary dispute is the proper method of calculating the plaintiffs’ potential damages if they prevail in this
litigation. Without conceding to any liability, Shipcom has already compensated the majority of the plaintiffs for
back pay using the half-time premium. If the Court determines that the half-time premium is the proper method for
calculating damages, the parties may be able to resolve this matter shortly thereafter.
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salary that they admit they received covered all hours worked. (See Plaintiffs’ response at p. 2-

3). The plaintiffs’ argument fails to demonstrate a fact issue because the evidence conclusively

demonstrates that the parties understood that the salary covered all time worked.

       In addition, Shipcom moved for summary judgment asserting that the hours to be used in

calculating the plaintiffs’ damages are limited to the hours the plaintiffs reported in Shipcom’s

timekeeping system.     (See Defendant’s Motion at p. 7). The plaintiffs argue that a fact issue

exists because two plaintiffs claim that they were instructed to either only report 40 hours or to

underreport the hours they actually worked. (See Plaintiffs’ Response at p. 5). Even if true, the

plaintiffs’ argument fails because the evidence conclusively shows that each of the plaintiffs

reported more than 40 for virtually all the weeks they worked for Shipcom, demonstrating that

Shipcom had no reason to believe that the plaintiffs were underreporting their time. Accordingly,

summary judgment is appropriate.

                           REPLY ARGUMENTS & AUTHORITIES

A.     THE PLAINTIFFS DO NOT DISPUTE THAT THEY WERE PAID STRAIGHT TIME FOR ALL
       HOURS WORKED.

       While the plaintiffs admit that they were paid a salary for all their hours worked, they

attempt to create a fact issue by arguing that they understood that their salaries were

compensation for a specific number of hours. (See Plaintiffs’ Response at p. 3). The plaintiffs

allege that before they began working for Shipcom—during their interviews— they were told

that they would work a set schedule of hours. (See id. at 3-4).

       These arguments must fail because the plaintiffs’ offer letters of employment expressly

state that they were being paid an annual rate for “all services to be performed by your during

your employment.” (See Exhibits A-G to Defendants Motion). Furthermore, Kehn’s, Bethas,

Novick’s, Abraham and Islam’s offer letter specifically state that their offer letter “constitute[s]


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the entire and final agreement between the parties with respect to [their employment] and

supersedes all prior written or oral and all contemporaneous oral agreements, understandings and

negotiations between the parties...” (See Exhibits A-E to Defendant’s Motion).            Thus, any

understandings the plaintiffs had regarding their compensation before the plaintiffs signed their

offer letters, were superseded once the plaintiffs signed their offer letters. Indeed, the offer

letters do not state that the plaintiffs’ salaries are compensation for a specific schedule or number

of hours. Instead, the offer letters state that the rate and/or salary were compensation for all

services performed. (See Exhibits A- G to Defendant’s Motion).

       Abraham’s offer of employment expressly state that his position was “exempt.”

Furthermore, Abraham signed the offer letter, acknowledging his understanding and acceptance

of his exemption. Therefore, there is no way he did not understand that his salary was

compensation for all hours worked.

       Even if the plaintiffs thought that their respective salaries were compensation for a set

schedule, they became aware very early on in their employment with Shipcom that their

respective salaries were compensation for all hours worked. Indeed, within the first two months

of their employment, nearly all of the plaintiffs reported working more than 40 hours in a

workweek on their timesheets. (See Exhibit G to Defendant’s Motion). Specifically, according

to the plaintiffs’ own time reporting, Kehn reported working more than 40 hours for 52 separate

weeks out of 57 weeks of employment with Shipcom; Novick reported working more than 40

hours for 33 separate weeks out of 44 weeks of employment with Shipcom; Abraham reported

working more than 40 hours for 30 separate weeks out of 43 weeks of employment with

Shipcom; Islam reported working more than 40 hours for 35 separate weeks out of 40 weeks of

employment with Shipcom; similarly, Woods reported working more than 40 hours weeks for 3



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separate weeks before she was re-classified to be non-exempt. (Id.). It is undisputed that the

plaintiffs did not receive any additional compensation to their salary for the hours worked in

excess of their “set schedule.”

           Furthermore, only one plaintiff, Zahid Islam, claims to have made a complaint about his

compensation.2 (See Plaintiffs’ Response at p. 4). It is undisputed that the other plaintiffs

reported working more than 40 hours in a workweek and never complained about their

compensation or challenged overtime wages. Thus, the experiences of the plaintiffs are not

similar to that in Black v. SettlePou, P.C., 732 F.3d 492, 500 (5th Cir. 2013) as the plaintiffs’

argue. In Black, the plaintiff repeatedly complained about her wages and compensation for

working more than 40 hours in a workweek. That is not the case here. Rather, the conduct of

these plaintiffs demonstrates that they were not only aware that their fixed salary covered all

hours worked, but that they agreed to it as well. See Roche v. S-3 Pump Service, Inc., 154

F.Supp.3d 441, 450 (W.D. Tex. 2016) (noting that the fact employees became aware very

quickly that they were working long hours and not receiving overtime pay and continued in their

employment after receipt of their first paychecks constitutes evidence that the employees were

aware at time of hire that the salary covered all hours (including overtime) worked).

B.         THE PLAINTIFFS PROVIDED NO EVIDENCE THAT SHIPCOM KNEW THAT THEY ALLEGEDLY
           UNDERREPORTED THEIR HOURS.

           Shipcom also moved for summary judgment on the calculation of hours the plaintiffs

worked. (See Defendant’s Motion at p. 7). Particularly, Shipcom argued that the plaintiffs

should be limited to seeking damages on the hours they reported in the company’s timekeeping

system. Id. The plaintiffs try to create a fact issue by arguing that their hours should not be

limited to the hours they reported to Shipcom because they did not report all of the hours they


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    We do not concede that Islam made a complaint about his compensation.

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worked. (See Plaintiffs’ Response at p. 6). Specifically, Plaintiff Novick claims that he was

directed to enter either 40 hours or close to 40 hours in Shipcom’s timekeeping system for each

week. (See id). Plaintiff Islam also claims that he underreported his time. (Id).

       Shipcom has a company policy that all employees must report their time. The plaintiffs

do not identify any individual who directed them to report 40 hours each week or who directed

them to underreport their hours. Indeed, for 33 out of the 44 weeks Novick worked at Shipcom,

he reported working more than 40 hours in a week, completely contrary to the alleged direction

he received from someone at Shipcom to enter either 40 hours or close to 40 hours in Shipcom’s

timekeeping system for each week. (See Exhibit G to Defendant’s Motion). In fact, for 16 of

those weeks, he reported working more than 50 hours in a workweek, and on several weeks he

even reported working more than 70 hours in a workweek. (See Id). Likewise, for 35 out of the

40 weeks Islam worked at Shipcom, he reported working more than 40 hours in workweek. And

as previously explained, the other plaintiffs repeatedly reported working more than 40 works for

several workweeks. (See id.). As a result of their own reporting, there is no reason to believe that

the plaintiffs worked more hours than they reported and no reason for Shipcom to have expected

that. Thus, the plaintiffs are limited to recovering, if any, only half time on the hours over 40 in

a workweek that they reported in the company’s timekeeping system. See Fairchild v. All

American Check Cashing, Inc., 815 F.3d 959, 965 (5th Cir. 2016) (holding that the plaintiff

could not prevail on her FLSA claim for overtime compensation for hours that she deliberately

failed to report in violation of the defendant’s timekeeping policy and that the defendant

otherwise did not have reason to believe that had worked.).




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C.     THE HALF-TIME WORKWEEK METHOD                 OF   CALCULATING DAMAGES PREVENTS            A
       WINDFALL FOR PLAINTIFFS.

       Lastly, Shipcom moved for summary judgment on the calculation of damages because

not applying the half-time workweek method of calculating potential damages would result in an

overpayment of damages to the plaintiffs. (See Defendant’s Motion at p. 6-7). Specifically,

because “the employee already received 100% of his regular rate of pay for each overtime hour

worked, the time-and-one-half overtime provision of 29 U.S.C. § 207(a)(1) requires that the

employee receive only an additional 50% of his regular rate for each overtime hour.” Samson,

242 F.3d 629, 634 (5th Cir. 2001) (citing Condo v. Sysco Corp., 1 F.3d 599, 605 (7th Cir. 1993));

see also Zoltek v. Safelite Glass Corp., 884 F. Supp. 283, 288 (N.D. Ill. 1995) (“[The plaintiff] is

not entitled to time-and-a-half because he has already been compensated at the regular rate for all

hours worked. He has only been denied the 50% supplement required for his overtime hours.”).

Accordingly, because the plaintiffs salaries already compensated them at straight time for all

hours worked (including any overtime hours), only one-half times the regular rate for hours

worked beyond 40 in the workweek must be added to the salary as overtime compensation.

Thus, should the Court find in the plaintiffs’ favor, it should only apply the half-time premium

standard to calculate the plaintiffs’ damages as a matter of law.

                                         CONCLUSION

       For the reasons stated in its Motion for Partial Summary Judgment and for the foregoing

reasons, Shipcom respectfully requests that the Court apply the half-time premium method to

calculate the plaintiffs’ damages, if any. In addition, Shipcom asks that the court limit the

plaintiffs’ hours to the number of hours they reported in the company’s time keeping system.




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Dated October 31, 2016                             Respectfully submitted,



                                                   /s/ Kerry E Notestine
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                                CERTIFICATE OF SERVICE

       I hereby certify that, on October 31, 2016, I electronically filed the foregoing with the
Clerk of Court using the CM/ECF system which will send notification of such filing to the
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